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                           UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


 GREGORY R. MARLOR,

       Plaintiff,                               Case No. 1:25-cv-00003-BLW

  v.                                            INITIAL REVIEW ORDER
                                                BY SCREENING JUDGE
 HOLLY GOODIN, ADA COUNTY,
 et al.,

   Defendants.



          Because Plaintiff Gregory R. Marlor submitted an in forma pauperis application in

this civil rights action (Dkt. 1), this case was conditionally filed by the Clerk of Court,

subject to review by the Court to determine whether the Complaint and Supplement

(Dkts. 3, 6) should be dismissed under 28 U.S.C. § 1915.

          Having reviewed the record, the Court enters the following Order, preliminarily

concluding that the Complaint was filed beyond the statute of limitations date and

requiring Plaintiff to file a memorandum to address timeliness and any legal excuses for

untimeliness.




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                               REVIEW OF COMPLAINT

1. Standards of Law for Review of Complaint

       The Court is required to review complaints filed in forma pauperis to determine

whether summary dismissal is appropriate. The Court must dismiss a complaint or any

portion thereof that states a frivolous or malicious claim, that fails to state a claim upon

which relief may be granted, or that seeks monetary relief from a defendant who is

immune from such relief. 28 U.S.C. §§1915(e)(2)(B), 1915A(b).

       Plaintiff brings his claims under 42 U.S.C. § 1983, the civil rights statute. To state

a claim under § 1983, a plaintiff must allege a violation of rights protected by the

Constitution or created by federal statute proximately caused by conduct of a person

acting under color of state law. Crumpton v. Gates, 947 F.2d 1418, 1420 (9th Cir. 1991).

       Under 28 U.S.C. § 1915(d), a district court may dismiss a frivolous in forma

pauperis action sua sponte without service of process on the defendants. Franklin v.

Murphy, 745 F.2d 1221, 1225-26 (9th Cir. 1984), abrogated on other grounds by Neitzke

v. Williams, 490 U.S. 319 (1989). An action is frivolous only “where it lacks an arguable

basis either in law or in fact.” Neitzke, 490 U.S. at 325. A case filed outside the statute of

limitations period is legally frivolous. Fogle v. Pierson, 435 F.3d 1252, 1258 (10th Cir.

2006); Pino v. Ryan, 49 F.3d 51 (2d Cir. 1995); Moore v. McDonald, 30 F.3d 616, 620

(5th Cir. 1994) (citing Gartrell v. Gaylor, 981 F.2d 254, 256 (5th Cir. 1993)). Cf. Herbst

v. Cook, 260 F.3d 1039, 1042 (9th Cir. 2001) (in habeas corpus context, finding the

district court “has the authority to exercise its discretion by raising the statute of



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limitations sua sponte when doing so furthers the interests of comity, federalism, and

judicial efficiency”). When a statute of limitations issue has been identified by the Court,

the plaintiff must be given an opportunity to respond. Id. at 1043.

       The statute of limitations period for filing a civil rights lawsuit under 42 U.S.C.

§ 1983 is the statute of limitations period for personal injuries in the state where the claim

arose. Wilson v. Garcia, 471 U.S. 261 (1985) (later overruled only as to claims brought

under the Securities Exchange Act of 1934, not applicable here). Idaho Code § 5-219

provides for a two-year statute of limitations for professional malpractice, personal

injury, and wrongful death actions. Federal civil rights actions arising in Idaho are

governed by this two-year statute of limitations.

       Although the state statute of limitations governs the time period for filing a claim,

federal law governs when a claim accrues. Elliott v. City of Union City, 25 F.3d 800, 801-

02 (9th Cir. 1994). The United States Court of Appeals for the Ninth Circuit has

determined that a claim accrues when the plaintiff knows, or should know, of the injury

that is the basis of the cause of action. See Kimes v. Stone, 84 F.3d 1121, 1128 (9th Cir.

1996). Under this “discovery rule,” the statute begins to run once a plaintiff knows of his

injury and its cause. Gibson v. United States, 781 F.2d 1334, 1344 (9th Cir. 1986). See

also Conner v. Reckitt & Colman, Inc., 84 F.3d 1100, 1102 (8th Cir. 1996) (statute of

limitations for ADA claim begins to run at time of discriminatory act, not when the act’s

consequences become most painful).




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         The statute of limitations for a § 1983 claim seeking to vindicate an arrestee’s

right to be free from criminal charges based on allegedly fabricated evidence does not

accrue until the charges are “fully and finally resolved and c[an] no longer be brought

against” him. Bradford v. Scherschligt, 803 F.3d 382, 388–89 (9th Cir. 2015).

         Whether tolling (stopping) of a statute of limitations is available is governed by

state law, unless application of state tolling principles would undermine important federal

policy. See Johnson v. Railway Express Agency, Inc., 421 U.S. 454, 464-65 (1975). The

Idaho Supreme Court determined that “[s]tatutes of limitation in Idaho are not tolled by

judicial construction but rather by the expressed language of the statute.” Wilhelm v.

Frampton, 158 P.3d 310, 312 (Idaho 2007).1 Idaho statutorily tolls the limitations period

during the “legal disabilities” of a person’s minority (not yet an adult) or insanity. I.C. §

5-230.

         Another option to address untimeliness is the theory of equitable estoppel, which

“does not ‘extend’ a statute of limitation”; rather, it prevents a party who has falsely

represented or concealed a material fact with actual or constructive knowledge of the

truth “from pleading and utilizing the statute of limitations as a bar, although the time



1 More recently, the Idaho Supreme Court has departed from Johnson and applied equitable

tolling in prisoner post-conviction matters. See Bahr v. State, 533 P.3d 282, 287-88 (Idaho 2023)
(discussing Evensiosky v. State, 30 P.3d 967 (2001), and applying federal habeas corpus
equitable tolling principles from Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005) (“Generally, a
litigant seeking equitable tolling bears the burden of establishing two elements: (1) that he has
been pursuing his rights diligently, and (2) that some extraordinary circumstance stood in his
way.”). But the Idaho Supreme Court has not extended equitable tolling to other categories of
civil matters.



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limit of the statute may have already run.” J.R. Simplot Co. v. Chemetics International,

Inc., 887 P.2d 1039, 1042 (Idaho 1994), abrogated on other grounds by Day v.

Transportation Dep’t, 458 P.3d 162 (2020) (recognizing waiver as an additional non-

statutory bar to the statute-of-limitations defense). The Idaho version of equitable

estoppel requires facts supporting four elements: “(1) a false representation or

concealment of a material fact with actual or constructive knowledge of the truth; (2) that

the party asserting estoppel did not know or could not discover the truth; (3) that the false

representation or concealment was made with the intent that it be relied upon; and (4) that

the person to whom the representation was made, or from whom the facts were

concealed, relied and acted upon the representation or concealment to his prejudice.” Id.

at 1041.

2. Discussion

       Plaintiff was arrested on January 24, 2019, on alleged fabricated evidence and

under an alleged conspiracy among government officials to maliciously prosecute him on

charges of possession of a controlled substance and possession of drug paraphernalia. See

Ada County Fourth Judicial District Case CR01-10-03431, State of Idaho v. Gregory

Martin Marlor.2 After much litigation, the state district court granted Plaintiff’s motion to

reconsider a motion to suppress or dismiss and entered an Order dismissing the case on




2 See https://portal-idaho.tylertech.cloud/odysseyportal/Home/WorkspaceMode?p=0 (search

terms: Marlor, Gregory) (accessed 2/17/2025).


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June 9, 2021. Therefore, any civil rights claims arising from Plaintiff’s arrest or criminal

case should have been filed no later than June 10, 2023.

       Plaintiff also asserts claims arising from the time periods in which he was

incarcerated as a pretrial detainee at the Ada County Jail and out on pretrial release. For

example, he asserts that various medical providers violated his right to adequate medical

care, and that officials who administered his electronic monitoring device he wore

violated his civil rights. These claims are not so connected to the criminal charges that the

statute of limitations for them would have been tolled until his criminal case was

dismissed. Rather, those claims arising in 2019 should have been filed in 2021; if arising

in 2020, a complaint should have been filed in 2022.

       Plaintiff makes two arguments to excuse his untimeliness. First, he asserts that

“equitable estoppel” should apply “due to the Defendants’ planned, acted, and resulted in

an unlawful arrest of the Plaintiff, then maliciously prosecuted him all under collusion

and color of law while maintaining an lawful arrest.” Dkt. 3-5 at 109 (verbatim).

However, equitable estoppel means that a Defendant took some action after the allegedly

wrongful action to prevent Plaintiff from discovering the factual basis of his claims in

time to file a lawsuit. Plaintiff incorrectly focuses on the acts that form the basis of the

civil rights claim.

       Second, Plaintiff asserts that statutory tolling is available under I.C. § 5-230. He

asserts that he was “insane” and unable to bring a civil action. However, this period of

“insanity” must have occurred while the statute of limitations was running, between June



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10, 2021, and June 10, 2023, and it must be documented by medical or mental health

records.

       Plaintiff also asserts that I.C. § 5-236 applies, because he had “co-existing

disabilities.” He says that he suffers from paralysis of the lower extremities, rheumatoid

arthritis, long COVID, and PTSD. However, the statute is referring to the legal

disabilities of minority (not yet an adult) and insanity, not the common definition of

“disability.” Plaintiff has not provided sufficient facts showing he had a legal disability

during the statute of limitations period.

       Plaintiff also admits that he had prepared and filed an online complaint against the

seven arresting deputies in July 2021. Dkt. 3-5 at 87. This statement shows that he had

the ability and means to file a pro se complaint in 2021. In 2019, Detective Morgan told

Plaintiff, “Sometimes bad things happen. I’m done with my investigation, but the

prosecutor said if you don’t like the results, sue them.” Id. at 144. He filed a timely state

tort claim notice in 2021 to give state actors “legal notice of his intention to sue.” Id. at

147.

       Lack of an attorney does not extend a statute of limitations date. The Ninth Circuit

has held that ignorance of the law without more, is not grounds for equitable tolling in the

context of habeas corpus actions. Rasberry v. Garcia, 448 F.3d 1150, 1154 (9th Cir.

2006) (a petitioner’s “inability correctly to calculate the limitations period” and “lack of

legal sophistication” are not “extraordinary circumstance[s] warranting equitable

tolling”)). A federal district court in New York aptly reasoned: “Plaintiff’s lack of



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knowledge and inability to find or pay for an attorney are insufficient reasons for

equitable tolling. If those reasons were sufficient to successfully assert equitable tolling,

every pro se litigant who could not find counsel, and was not an attorney him or herself,

would be entitled to equitable tolling.” Shenk v. State Univ. of New York at Cortland, No.

519CV1287DNHATB, 2019 WL 7484046, at *4 (N.D.N.Y. Nov. 13, 2019), report and

recommendation adopted, No. 519CV1287DNHATB, 2020 WL 58628 (N.D.N.Y. Jan. 6,

2020). In addition, neither the Idaho State Bar nor any lawyer to whom they referred

Plaintiff through the Lawyer Referral Service had a legal obligation to find Plaintiff an

attorney or represent him.

       Plaintiff also asserts that he suffered from “brain fog” until 2023 (Dkt. 3-5 at 94-

97), but the fact that he prepared a tort claim notice a complaint in 2021 shows that his

brain fog did not affect his ability to file a complaint within the statute of limitations

period. See Dkt. 3-5 at 94.

3. Conclusion

       It appears that Plaintiff’s claims are untimely, and that he is not entitled to

statutory tolling, equitable tolling, or equitable estoppel. He will be given leave to file a

memorandum showing that his claims are timely, or that facts exist to show legal excuse

for the untimeliness should be applied.




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                                             ORDER

       IT IS ORDERED:

       1. Plaintiff’s Motion to Proceed in Forma Pauperis (Dkt. 1) is GRANTED for

           purposes of filing and showing that his action is timely or that his untimeliness

           is excused.

       2. Plaintiff’s Motion to Waive Bond (Dkt. 5) is DENIED without prejudice as

           MOOT. In federal court, the state bond statute is not enforced for in forma

           pauperis litigants.3

       3. Plaintiff shall file a memorandum of no more than 20 pages, setting forth his

           timeliness and his tolling and estoppel arguments, if any, within 30 days after

           entry of this Order. Alternatively, he may file a notice of voluntary dismissal.

           Plaintiff shall file nothing further until the Court issues a second successive

           review order.




3
  A motion for waiver of security costs, which arises from a state statute, Idaho Code §6-610, is
unnecessary, because the statute is inapplicable to civil rights causes of action brought in federal
court. In Pugsley v. Cole, 2005 WL 1513112 (D. Idaho June 27, 2005), Magistrate Judge Larry
M. Boyle held that an indigent prisoner’s state-law claims will not be barred for failure to post
the requisite bond. Id. at *7. That holding later was adopted by the Idaho Court of Appeals. See
Hyde v. Fisher, 152 P.3d 653, 656 (Idaho Ct. App. 2007) (adopting Pugsley); see also Beehler v.
Fremont County, 182 P.3d 713, 717 (Idaho Ct. App. 2008).



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                                           DATED: March 24, 2025


                                           _________________________
                                           B. Lynn Winmill
                                           U.S. District Court Judge




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